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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

 CHOQ, LLC,
 a Texas Limited Liability Company

           Plaintiff,

 v.                                                   CASE NO.: 1:20-cv-00404-NF-KHR

 HOLISTIC HEALING, LLC,
 a New Mexico limited liability company, and
 JOHN DOE, an individual,

           Defendants.

RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE TO FILE A SECOND AMENDED
    COMPLAINT AND FOR AN EXTENSION OF TIME TO FILE ITS SECOND
                        AMENDED COMPLAINT

          Defendant, HOLISTIC HEALING, LLC (“Holistic Healing” or “Defendant”), by and

through its undersigned counsel, pursuant to the Federal Rules of Civil Procedure and the United

States District Court District of New Mexico Local Rules of Civil Procedure, hereby files this

Response to Plaintiff’s Motion for Leave to File a Second Amended Complaint and for an

Extension of Time to File its Second Amended Complaint [Doc 33 and 35], and in support hereof

states:

  I.      SUMMARY OF THE ARGUMENT

          CHOQ, LLC (“Plaintiff”) served its Amended Complaint on Defendant on or about April

29, 2020. Counsel appeared in the above-captioned matter on behalf of Defendant on May 21,

2020. To date, Plaintiff has sought to unreasonably delay this matter, continue to make unfounded

attacks against Defendant, and prevent Defendant from conducting discovery. Notably, Plaintiff

has already filed an Amended Complaint, yet now, months later, seeks to file another amended

complaint without good cause for the delay. Plaintiff, without basis or reason, seeks an extension




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to file its purported second amended complaint but does not support its request to do so.

Accordingly, Plaintiff ‘s Motion should be denied due to unjust delay.

 II.   MEMORANDUM OF LAW AND ARGUMENT

    A. PLAINTIFF SHOULD NOT BE PERMITTED TO FILE A SECOND AMENDED
       COMPLAINT.

       Plaintiff seeks authority from this Court to file a Second Amended Complaint. While

granting leave to amend should be freely granted, leave to amend should not be permitted if doing

so would cause undue delay, undue prejudice to the opposing party, or is made in bad faith. Wagner

Equip. Co. v. Wood, 289 F.R.D. 347, 349 (D.N.M. 2013) (citing Frank v. U.S. West, Inc., 3 F.3d

1357, 1365 (10th Cir. 1993)). “Undue delay will be a sufficient reason to deny leave to amend

‘when the party filing the motion has no adequate explanation for the delay.’” Id. “Courts will

properly deny a motion to amend when it appears that the plaintiff is using Rule 15 to make the

complaint a moving target, to salvage a lost case by untimely suggestion of new theories of

recovery, […], or to knowingly delay raising an issue until the eve of trial.” Id. (citing Minter v.

Prime Equip. Co., 451 F.3d 1196, 1206 (10th Cir. 2006)).

       Presently, Plaintiff seeks an Order from this Court permitting it to file a Second Amended

Complaint. Plaintiff has unduly delayed this proceeding and continuously thwarted and denied

Defendant the right to conduct discovery into its claims. Plaintiff continues to interfere with

Defendant’s the right to conduct discovery and has caused undue prejudice at this juncture.

Notably, Plaintiff has represented to Defendant, and the Court, that it will seek to file a Third

Amended Complaint at some point in this litigation. The position advanced by Plaintiff in its

Motion can only be viewed as being made in bad faith. This proceeding has been pending for

months and Plaintiff seeks to continue to keep the pleadings in a state of limbo to prevent

Defendant from moving this litigation forward. The relief sought by Plaintiff will only cause



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undue delay in this proceeding and unduly prejudice Defendant from obtaining discovery

necessary to defend its position in the instant lawsuit. Plaintiff should not be permitted to

continuously amend its complaint. Based on Plaintiff’s representations that this will not be the last

request to amend the complaint, this request should be denied.

       WHEREFORE, Defendant respectfully requests this Court enter an Order requiring

Plaintiff to participate in a Rule 26(f) conference within five (5) days from the entry of an Order,

denying Plaintiff’s request for leave to amend, and granting all such other relief as just and proper.



                                               Respectfully Submitted,
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of October, 2020, a true and correct copy of
the foregoing was filed via the Court’s CM/ECF system to the following parties and a copy thereof
was served electronically upon all counsel of record, as reflected by the Court’s CM/ECF system.

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/s/ Donald F. Kochersberger III
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